   Case: 1:13-cv-09116 Document #: 200 Filed: 07/15/15 Page 1 of 2 PageID #:4924




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


                                                                        MDL No. 2492

IN RE NATIONAL COLLEGIATE                                  Master Docket No. 1:13-cv-09116
ATHLETIC ASSOCIATION STUDENT-
ATHLETE CONCUSSION INJURY                                     This Documents Relates To:
LITIGATION                                                            All Cases

                                                                    Judge John Z. Lee

                                                       Magistrate Judge Geraldine Soat Brown


                                       NOTICE OF MOTION

         PLEASE TAKE NOTICE that on Friday, July 24, 2015 at 2:00 p.m., or as soon thereafter as
counsel may be heard, we shall appear before the Honorable John Z. Lee or any judge sitting in his stead
ßin Courtroom 1225, and then and there present Anthony Nichols’ Agreed Motion to File Oversized Brief,
a true and accurate copy of which is attached hereto and hereby served upon you.

                                                Respectfully submitted,

                                                By: /s/ Ari J. Scharg

                                                Jay Edelson
                                                jedelson@edelson.com
                                                Rafey S. Balabanian
                                                rbalabanian@edelson.com
                                                Ari J. Scharg
                                                ascharg@edelson.com ecf
                                                EDELSON PC
                                                350 N. LaSalle, Suite 1300
                                                Chicago, Illinois 60654
                                                Tel: 312.589.6370
                                                Fax: 312.589.6378




                                                   1
   Case: 1:13-cv-09116 Document #: 200 Filed: 07/15/15 Page 2 of 2 PageID #:4925



                                    CERTIFICATE OF SERVICE

         I, Ari J. Scharg, an attorney, hereby certify that on July 15, 2015, I served the above and
foregoing Notice of Motion, by causing true and accurate copies of such paper to be filed and transmitted
to all counsel of record via the Court’s CM/ECF electronic filing system.

                                                /s/ Ari J. Scharg




                                                    2
